     Case 5:20-cv-00716-TJH-SP Document 17 Filed 04/24/20 Page 1 of 2 Page ID #:328



 1                                                       April 24, 2020
 2                                                           VPC
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 8                   United States District Court
 9                   Central District of California
10                        Western Division
11

12    JAIRO G. APARICIO,                                   CV 20-00716 TJH
13                       Petitioner,
                                                             Stay Order
14          v.
15    CHAD T. WOLF, et al.,
16                       Respondents.
17

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19         On April 23, 2020, the Court: (1) Provisionally certified Roman, et al. v. Wolf,
20   et al., CV 20-768 TJH (PVCx) as a class action pursuant to Fed. R. Civ. P. 23(b)(2);
21   and (2) Issued a class-wide Preliminary Injunction in Roman. As a class action certified
22   under Fed. R. Civ. P. 23(b)(2), Roman is a mandatory, no opt out class action. See
23   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 361-62 (2011).
24

25         Petitioner is a member of the provisionally certified class in Roman.
26

27         The Court previously issued a Temporary Restraining Order, in this case,
28   ordering Petitioner’s release from detention.

                                                 Temporary Restraining Order – Page 1 of 2
     Case 5:20-cv-00716-TJH-SP Document 17 Filed 04/24/20 Page 2 of 2 Page ID #:329



 1         Accordingly,
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 3         It is Ordered that, pursuant to the Preliminary Injunction issued in Roman,
 4   Petitioner shall remain released pending a final resolution of Roman or further order of
 5   the Court.
 6

 7         It is further Ordered that pending a final resolution of Roman, this case be,
 8   and hereby is, Stayed.
 9

10   Date: April 24, 2020
11                                              __________________________________
12                                                     Terry J. Hatter, Jr.
13
                                                Senior United States District Judge

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                                                 Temporary Restraining Order – Page 2 of 2
